                                                              United States Bankruptcy Court
                                                                Northern District of Ohio
In re:                                                                                                                 Case No. 21-61491-tnap
Squirrels Research Labs LLC                                                                                            Chapter 11
The Midwest Data Company LLC
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0647-6                                                  User: lbald                                                                Page 1 of 6
Date Rcvd: May 23, 2024                                               Form ID: pdf755                                                         Total Noticed: 155
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 25, 2024:
Recip ID                   Recipient Name and Address
db/db                  +   Squirrels Research Labs LLC, The Midwest Data Company LLC, 8050 Freedom Avenue NW, North Canton, OH 44720-6912
aty                    +   Brouse McDowell, 388 South Main Street, Suite 500, Akron, OH 44311-4419
aty                    +   Brouse McDowell, LPA, 388 S. Main Street, Suite 500, Akron, OH 44311-4419
aty                    +   Jason R. Schendel, Sheppard, Mullin, Richter & Hampton LLP, Four Embardadero Center, Seventeenth Floor, San Francisco, CA
                           94111-4106
cr                     +   Avnet, Inc., c/o Christopher Combest, Quarles & Brady LLP, 300 N. LaSalle Street, Suite 4000 Chicago, IL 60654-5427
cr                         Better PC, LLC, c/o Christopher J. Niekamp, Esq., Buckingham, Doolittle & Burroughs, Suite 300, Akron, OH 443338398
acc                    +   CliftonLarsonAllen LLP, 388 S Main St, Ste 420, Akron, OH 44311-4407
cr                     +   Fleur-de-Lis Development, LLC, c/o Gina Piacentino, 88 E. Broad, Suite 1560, Columbus, OH 43215-3178
fa                     +   Inglewood Associates LLC, 9242 Headlands Road, Mentor, OH 44060-1026
cr                     +   Premier Bank, 1111 Superior Ave., E., Suite 1111, Cleveland, OH 44114-2568
intp                   +   SCEB, LLC, 18 Monument Drive, Stafford, VA 22554-8508
cr                     +   Second Foundation Mining LLC, Robert Oxsen, CEO, 3326 Corinthian Ln, Auburn, CA 95603-9066
27135852               +   AEP Energy Inc, 225 W Wacker Dr Ste 600, Chicago, IL 60606-1280
27110771               +   Aaron Holquin, 2046 Jamison Pl, Santa Clara, CA 95051-2240
27110772                   Aaron Reimer, PMB-AR113422, Sumas, WA 98295-9674
27110773               +   Alton Hare, 1200 17th St NW, Washington, DC 20036-3006
27110774               +   Amanda McConnell, 191 E. 28th Street, Dover, OH 44622-9502
27110775               +   Andrew Gould, 4812 Wildflower Drive, North Canton, OH 44720-1174
27110776               +   Andrew Waters, 6653 Main Street, Williamsville, NY 14221-5906
27110779               +   Avnet Inc., 5400 Prairie Stone Pkwy, Hoffman Estates, IL 60192-3721
27110777               +   Avnet Inc., Attn: Dennis Losik, 5400 Prairie Stone Pkwy, Hoffman Estates, IL 60192-3721
27110780               +   Ben George, 5464 Lake Ave, Orchard Park, NY 14127-1057
27110781               +   BittWare/Molex Inc., 2222 Wellington Court, Lisle, IL 60532-1682
27159444               +   Bittware Inc, Tricia Mccoy, 2222 Wellington Ct, Lisle, IL 60532-3831
27110782               +   Bittware/Molex LLC, 2222 Wellington Ct, Lisle, IL 60532-3831
27110783               +   Bradley Conn, 51 Maple Avenue, Locust Valley, NY 11560-2006
27110784                   Bradon Pen, 56 Varcoe Rd, Courtice, ON L1E 1S5, CANADA
27110785               +   Brandon Osbourne, 151 Mary Ellen Drive, Charleston, SC 29403-3355
27110786                   Brett Mashford, 35 Oakmoss Dr, SPRINGFIELD LAKES, QLD 4300, AUSTRALIA
27110787               +   Brian Fiducci, 24463 Norelius Ave, Round Lake, IL 60073-1419
27110788               +   Brian Klinger, 4018 Shelby Row, Sugar Land, TX 77479-1751
27110794               +   CT Data LLC, 133 River Road, Mystic, CT 06355-1815
27110789               +   Carl Forsell, c/o James E.P. Sisto, Schuerger Law Group, 1001 Kingsmill Parkway, Columbus, OH 43229-1129
27110790               +   Chad Clark, 876 Jefferson St, Menasha, WI 54952-2452
27126510                   Christophe TOUZET, 32 Rouillon, SAINT GERMAIN EN COGLES, 35133
27110791               +   Cincinnati Insurance, 417 Anderson Ferry Rd, Suite 3, Cincinnati, OH 45238-5286
27110792               +   Clarence Smith, 3290 Double Creek Dr N., Apt 301, Plainfield, IN 46168-5586
27110793               +   CliftonLarsonAllen LLP, Attn: Daniel Riemenschneider, 4334 Munson St., NW, Canton, OH 44718-3674
27150935                   CliftonLarsonAllen, LLP, 220 S 6th St # 300, Minneapolis, 55402-1436
27110795               +   Culligan of Canton, 4810 Southway St., SW, Canton, OH 44706-1965




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District/off: 0647-6                                        User: lbald                                                           Page 2 of 6
Date Rcvd: May 23, 2024                                     Form ID: pdf755                                                    Total Noticed: 155
27110796            Daniel Hajdu, Graslaan 111, 6833CG Arnhem, NETHERLANDS
27110797        +   Daniel Russo, 120 High Farms Rd, Glen Head, NY 11545-2227
27110799        +   Darry Kurpisz, 14635 22nd Ave SW, Burien, WA 98166-1609
27110800        +   David Chase, et al., c/o Michael Maranda, 38 Oaklawn Ave, Farmingville, NY 11738-2523
27110801        +   David Reynolds, 6046 Jerusalem Drive, Cicero, NY 13039-8885
27110802        +   David Stanfill, 772 Treat Blvd., Tallmadge, OH 44278-2634
27110803        +   Donald Ruffatto, 420 Fairview Ave, Arcadia, CA 91007-6806
27110804        +   Dustin Hooper, 11885 W. McDowell Rd, Avondale, AZ 85392-5188
27135853        +   Envista Forensics LLC, dba AREPA, 111 Deer Lake Rd, Ste 100, Deerfield, IL 60015-4943
27110805        +   Everhart Glass Co., Inc., Attn: Linda Monigold, 207 Ninth St., SW, PO Box 20645, Canton, OH 44701-0645
27110806        +   Everstream, 1228 Euclid Ave #250, Cleveland, OH 44115-1831
27155871            Fabrizio Simonetti, 8 Via Sant Jacpo in Acquaviva, Livorno, Italy 57127
27110807            Fabrizio Simonetti, Via Gozzer N 2A, 57128 Livorno, ITALY
27165136            Fedex Corporate Services Inc, 3965 Airways Blvd, Module G, 3rd Floor, Memphis, TN 38116-5017
27110809        +   Fernando Molina, 5275 SW 146 AVE, Miami, FL 33175-5707
27175436        +   Fleur-de-Lis Development LLC, c/o Matthew T. Schaeffer/Jameel S. Turne, 10 West Broad Street, Suite 2100, Columbus, OH 43215-3455
27110812        +   GS 8100, LLC, 6610 Chatsworth Street, NW, Canton, OH 44718-3849
27110813            GS1 US, Inc., 300 Princeton South Corporate Center, Ewing Township, NJ 08628
27140577        +   Gabriel M Boutin, 48 Cascade st, Essex Jct, VT 05452-4126
27165286        +   Gail O'Connell, 8960 Ringview Dr, Mechanicsville, VA 23116-2972
27110810        +   George D. Jimenez, 9396 Broadland Street, NW, Massillon, OH 44646-9120
27110811            Gilbert Rodriguez, 1340 Camp Street, Fabens, TX 79838
27162170        +   Gregory Almeida, 240 Old Foamy Rd, Cleburne, TX 76033-8845
27110814            Hailu Looyestein, Schout Coxstraat 1, 5421GJ Gemert, NETHERLANDS
27110815        +   Heather Bradley, 1213 N. Chapel Street, Louisville, OH 44641-1007
27110816        +   Henry Ryan, 228 Cranbury Road, Princeton Junction, NJ 08550-2801
27110817        +   Horizon Supply Group, Attn: Jeff Habbyshaw, 3691 Honors Way, Howell, MI 48843-7498
27110821        +   IPS Assembly Corp., Attn: Perry Sutariya, 12077 Merriman Rd, Livonia, MI 48150-1912
27110818        +   Instantiation, LLC, Attn: Sam Cassatt, 434 Dorado Beach E, Dorado PR 00646-2225
27110822        +   Isaac Gabriel, Quarles and Brady, One Renissaince Sq, Two North Central Ave, Phoenix, AZ 85004-2391
27110823        +   Israel Garcia, 615 Oak Hollow Dr, Newberg, OR 97132-7475
27110827        +   JC Pack, 628 1/2 E San Ysidro Blvd 292, San Ysidro, CA 92173-3149
27110824        +   James Holodnak, 2910 16th Street, NW, Canton, OH 44708-3006
27110825        +   Jason Price, 67 Bartram Trail, Brunswick, GA 31523-7911
27110826        +   Jason R. Schendel, Jeannie Kim, Sheppard, Ullin, Richter & Hampton LLP, Four Embarcadero Center, 17th Flr, San Francisco, CA
                    94111-4158
27110828            Jean Viljoen, 5 Cape Willow, Hermanus, Western Cape, 7200, SOUTH AFRICA
27110829        +   Jeffrey Cordell, 17517 NW Ashland Drive, Portland, OR 97229-3371
27137812            Joaquim Ginesta, 6. 4r1r Emili Grahit, Giroma, Spain 17002
27134496            Joaquim Ginesta, Emili Grahit 6, 4r 1r, 17002 GIRONA, SPAIN, Emili Grahit 6, 4r 1r, 17002, GIRONA, SP
27110831            Joaquim Ginesta, Emili Grahit 6, 4r 1r, 17002 Girona, SPAIN
27343770        +   Jonathan Hulecki, 4568 Church Point Place, Virginia Beach, VA 23455-4363
27110832        +   Jordan Kupersmith, 888 N. Quincy St, Arlington, VA 22203-2070
27110833        +   Jose A. Rubio, 15925 Hopper Lane, San Diego, CA 92127-6180
27110834        +   Josh Luoni, 808 8th St, Fairmont, WV 26554-2561
27110835        +   Joshua Harris, 209 N. Horner Blvd., Sanford, NC 27330-3913
27165288        +   Justin O'Connell, 15712 Whirland Dr, Midlothian, VA 23112-5255
27110838        +   Kyle Slutz, 1116 W. Nimisila Road, Clinton, OH 44216-8900
27110839        +   Kyle Tricarico, 5464 Lake Ave, Orchard Park, NY 14127-1057
27110840            Luco Gilardi, Ul. Slivnitsa 188, Sofia 1202, BULGARIA
27110841        +   Mario Fortier, 10 Orchard Lane, Chelmsford, MA 01824-1324
27110842            Marius Nastasenko, Taikos g. 148, Vilnius, Vilniaus Apskritis 5227, LITHUANIA
27110843        +   Mark D'Aria, 165 Quaker Path, East Setauket, NY 11733-2239
27110844        +   Mark Veon, 2547 S. 3rd Street, Milwaukee, WI 53207-1407
27110845        +   Metal Masters, Attn: Bret Kettlewell, 125 Williams Dr, Dover, OH 44622-7662
27161274        +   Michael A. Steel, Esq., 2725 Abington Rd., Suite 200A, Akron 44333-4058
27110846        +   Michael Dai, 43174 Christy Street, Fremont, CA 94538-3170
27110847        +   Michael Rampton, 6222 12th Street, North, Arlington, VA 22205-1721
27110848        +   Michael Riley, 2506 SW 23rd Cranbrook Dr, Boynton Beach, FL 33436-5708
27110849        +   Michael Robinson, 103 Hunters Ct, Forest, VA 24551-1407
27110850        +   Michael Walker, Associate General Counsel, Avnet Inc., 2211 S. 47th Street, Phoenix, AZ 85034-6403
27110851        +   Miguel Chacon, 120 NW 6th Ave, Miami, FL 33128-1525
27110852            Mohamed Kazem, 27 Orwell Street, Potts Point, SYDNEY, NSW 2011, AUSTRALIA




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District/off: 0647-6                                                  User: lbald                                                                Page 3 of 6
Date Rcvd: May 23, 2024                                               Form ID: pdf755                                                         Total Noticed: 155
27110856               + NJEB Partners, 244 5th Avenue, Ste 1253, New York, NY 10001-7604
27161592               + NJEB Partners LLC, c/o Melissa S. Giberson, Vorys, Sater, Seymour and Pease LLP, 52 East Gay Street, Columbus, OH 43215-3161
27110853                 Naoaki Kita, Kigoshimachi, Kanazawa-shi, Ishikawaken 920-0203, JAPAN
27110854               + Nick Yarosz, 3019 Ellington Dr, Summerville, SC 29485-6319
27110855                 Nicolas Rochon, 4278 Beausoleil, Terrebonne QC J6V 1G1, CANADA
27110862               + One Haines Company, LLC, 6610 Chatsworth Street, NW, Canton, OH 44718-3849
27110863               + One Skymax Company, LLC, 6610 Chatsworth Street, NW, Canton, OH 44718-3849
27110864               + Pat Clay, 72 Baker Dr, Gansevoort, NY 12831-2444
27110865               + Patrick Nadeau, 311 Andrews Rd, Wolcott, CT 06716-1048
27110866               + Paul Kelsey, 1583 E. Primrose Lane, Layton, UT 84040-1202
27110867                 Peter Ensor, Powerstown House, Clonee, Dublin, D15 YH52, IRELAND
27110868               + Phillippe Germain, 102 W. Service Rd #2153466, Champlain, NY 12919-4440
27245902               + ProTech Security, PO Box 35034, Canton, OH 44735-5034
27110870               + R. Scott Heasley, Meyers, Roman, Friedberg & Lewis, 28601 Chagrin Blvd., Suite 600, Cleveland, OH 44122-4557
27110871                 Rajesh Bhakar, Sector 9d/204, 2nd Flr Akarti Apartment, Jaipur, Rajasthan 302021, INDIA
27110872                 Raymond Wodarczyk, Kinzigstra e 28, 10247 Berlin, GERMANY
27110873               + Richard Bergstrom, 30107 Mountain View Dr, Hayward, CA 94544-6719
27110874               + Richard Weeks, 4199 Defoors Farm Dr, Powder Springs, GA 30127-4078
27110875                 Robin Wolf, Fasangasse 49, Vienna, Wien 1030, AUSTRIA
27110876                 Ruben Sousa, Av. D. Jo o II, n 34, 1998-031 Lisboa, PORTUGAL
27110878               + Sam Adams, 3417 Bush Street, Stevens Point, WI 54481-4993
27110879                 Samtec, 20 Park E. Blvd., New Albany, IN 47150
27110880               + Scott Chen, 4058 Case St, Elmhurst, NY 11373-1614
27110881               + Seth Stanfill, 1515 24th Street, NW, Canton, OH 44709-3411
27110882               + Squirrels LLC, 121 Wilbur Drive NE, North Canton, OH 44720-1641
27110883                 Stefano Chiesa, Via III Novembre 41, 38026 Fucine Trentino, ITALY
27122739               + Stephen A. Eckinger, 1611 North Main Street, Suite A, North Canton, OH 44720-8632
27143204               + TTI, Inc. C/O Commercial Collection Consultants, 16830 Ventura Boulevard, Suite 620, Encino, CA 91436-1727
27110886               + Tim Bredemus, 9757 Union Terrace Ln N, Maple Grove, MN 55369-3728
27110887               + Tommy DeFreitas, 14114 N. Wind Cave Ct, Conroe, TX 77384-5618
27110888                 TorEA Consulting, Attn: Paul Billinger, 1 Bow Street, Stouffville, ON L4A 1Z3, CANADA
27146593                 TorEA Consulting LTD, 1 BOW STREET, STOUFFVILLE ON L4A 1Z3
27110889               + Trevor Steinle, 24106 SE 42nd St, Sammamish, WA 98029-6414
27110891               + Tri Ho, 1180 N. Cherry Way, Anaheim, CA 92801-2023
27110892               + Troy Keplinger, 1730 E. Park St, Enid, OK 73701-6318
27110893               + U.S. Small Business Administration, District Counsel, 1350 Euclid Ave, Suite 211, Cleveland, OH 44115-1815
27110895                 Welbour Espartero, 46 6th Ave NE, Swift Current, SK S9H 2L7, CANADA
27110896               + William Paden, 205 Plains Rd, Westford, VT 05494-9630
27133992                 chiesa stefano, 41, via III novembre fucine tn italy 380, 41, via III novembre fucine tn italy 380

TOTAL: 141

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
27110770               + Email/Text: frank.abrignani@agaltd.com
                                                                                        May 23 2024 20:35:00      A.G. Adjustments, Ltd., 740 Walt Whitman Rd,
                                                                                                                  Melville, NY 11747-2212
27110778               + Email/Text: Mary.pacini@avnet.com
                                                                                        May 23 2024 20:35:00      Avnet Inc., 2211 South 47th Street, Phoenix, AZ
                                                                                                                  85034-6403
27110808               ^ MEBN
                                                                                        May 23 2024 20:28:49      FedEx, PO Box 371461, Pittsburgh, PA
                                                                                                                  15250-7461
27165136               ^ MEBN
                                                                                        May 23 2024 20:30:15      Fedex Corporate Services Inc, 3965 Airways Blvd,
                                                                                                                  Module G, 3rd Floor, Memphis, TN 38116-5017
27110820               + Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                        May 23 2024 20:35:00      Internal Revenue Service, Insolvency Group 6,
                                                                                                                  1240 E. Ninth Street, Room 493, Cleveland, OH
                                                                                                                  44199-9941
27110836                  Email/PDF: ais.chase.ebn@aisinfo.com
                                                                                        May 23 2024 20:41:55      JPMorgan Chase Bank, 1111 Polaris Pkwy,
                                                                                                                  Columbus, OH 43240
27110837               + Email/Text: dcottrill@kimblecompanies.com
                                                                                        May 23 2024 20:36:00      Kimble Recycling & Disposal, Inc., 3596 SR 39,




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District/off: 0647-6                                               User: lbald                                                            Page 4 of 6
Date Rcvd: May 23, 2024                                            Form ID: pdf755                                                     Total Noticed: 155
                                                                                                            NW, Dover, OH 44622-7232
27110859                 Email/Text: bwclegalbankruptcy@bwc.ohio.gov
                                                                                   May 23 2024 20:35:00     Ohio Bureau of Workers' Compensation, Attn:
                                                                                                            Law Section Bankruptcy Unit, PO Box 15567,
                                                                                                            Columbus, OH 43215-0567
27110858              + Email/Text: Bankruptcy.notices@tax.state.oh.us
                                                                                   May 23 2024 20:36:00     Ohio Attorney General, Collections Enforcement
                                                                                                            Section, Attn: Bankruptcy Unit, 30 E. Broad
                                                                                                            Street, 14th Floor, Columbus, OH 43215-3414
27110860                 Email/Text: uibankruptcy@jfs.ohio.gov
                                                                                   May 23 2024 20:36:00     Ohio Department of Job & Family Svcs, Attn:
                                                                                                            Legal Support-Bankruptcy, PO Box 182830,
                                                                                                            Columbus, OH 43218-2830
27110861                 Email/Text: Bankruptcy.notices@tax.state.oh.us
                                                                                   May 23 2024 20:36:00     Ohio Department of Taxation, Attn: Bankruptcy
                                                                                                            Division, PO Box 530, Columbus, OH 43216-0530
27159723              + Email/Text: AEPBankruptcy@aep.com
                                                                                   May 23 2024 20:35:00     Ohio Power Company d/b/a AEP Ohio, ATTN:
                                                                                                            Dwight C Snowden, 1 Riverside Plaza 13th Floor,
                                                                                                            Columbus, OH 43215-2355
27110869              + Email/Text: ffbcollectiondepartment@first-fed.com
                                                                                   May 23 2024 20:36:00     Premier Bank, PO Box 248, Defiance, OH
                                                                                                            43512-0248
27110857                 Email/Text: USAOHN.BankruptcyCle@usdoj.gov
                                                                                   May 23 2024 20:34:00     Office of U.S. Attorney, Attn: Bankruptcy Section,
                                                                                                            Carl B. Stokes U.S. Court House, 801 W. Superior
                                                                                                            Avenue, Ste 400, Cleveland, OH 44113
27110894              + Email/Text: arbankruptcy@uline.com
                                                                                   May 23 2024 20:36:00     Uline, 12575 Uline Dr, Pleasant Prairie, WI
                                                                                                            53158-3686

TOTAL: 15


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
cr                            Carl Forsell
cr                            Cincinnati Insurance Company
cr                            Envista Forensics, LLC d/b/a AREPA
intp                          Instantiation LLC
intp                          Ohio Power Company dba American Electric Power
intp                          Paul Billinger
cr                            Torea Consulting Ltd.
27134195                      Hailu Looyestein, 1 Schout Coxstraat, Gemert Noord-Brxant 5421GJ
27159308                      Michael Maranda LLC, 6545 Market Avenue North, Nor
27139009                      Nicolas Rochon-Girard, 4278 rue Beausoleil Terrebonne Qubec J6V, 4278 rue beausoleil Terrebonne Qubec J6V
27133288                      Premier Bank, 1111 Superior Ave., East, Suite 1111
cr              *P++          OHIO BUREAU OF WORKERS' COMPENSATION, PO BOX 15567, COLUMBUS OH 43215-0567, address filed with court:,
                              Ohio Bureau of Workers Compensation, Attn: Law Section Bankruptcy Unit, PO Box 15567, Columbus, OH 43215
27110819        *             Internal Revenue Service, PO Box 7346, Philadelphia, PA 19101-7346
27110890        *+            Trevor Steinle, 24106 SE 42nd St, Sammamish, WA 98029-6414
27127101        *+            ULINE, 12575 ULINE DRIVE, PLEASANT PRAIRIE, WI 53158-3686
27110798        ##+           Darien Lyons, 45 Elvin Street, Staten Island, NY 10314-4050
27134726        ##+           Elliot Boutin, 9400 e lincoln st apt 409, Wichita, KS 67207-3556
27110830        ##+           Jessica Gritzan, 1280 Linwood Ave SW, North Canton, OH 44720-3473
27110877        ##+           Ryan Marfone, 98 N. Hawkhurst Cir, The Woodlands, TX 77354-3287
27110884        ##+           Steven Turnshek, 13 Krist Glen Dr, Swissvale, PA 15218-1927
27110885        ##+           Thom Kuznia, 5733 York Ave S, Edina, MN 55410-2642

TOTAL: 11 Undeliverable, 4 Duplicate, 6 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and




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belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 25, 2024                                       Signature:            /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 23, 2024 at the address(es) listed below:
Name                            Email Address
Bryan Sisto
                                on behalf of Creditor Carl Forsell bsisto@fbtlaw.com

Christopher Niekamp
                                on behalf of Creditor Better PC LLC cniekamp@bdblaw.com

Christopher Paul Combest
                                on behalf of Creditor Avnet Inc. christopher.combest@quarles.com

David M. Neumann
                                on behalf of Creditor Torea Consulting Ltd. dneumann@meyersroman.com
                                docket@meyersroman.com;mnowak@meyersroman.com

David M. Neumann
                                on behalf of Creditor Envista Forensics LLC d/b/a AREPA dneumann@meyersroman.com,
                                docket@meyersroman.com;mnowak@meyersroman.com

Frederic P. Schwieg
                                on behalf of Trustee Frederic P. Schwieg fschwieg@schwieglaw.com OH84@ecfcbis.com

Frederic P. Schwieg
                                fschwieg@schwieglaw.com OH84@ecfcbis.com

Frederic P. Schwieg
                                on behalf of Plaintiff Frederic P Schwieg fschwieg@schwieglaw.com OH84@ecfcbis.com

Jack B. Cooper
                                on behalf of Defendant Squirrels LLC jcooper@milliganpusateri.com

Jack B. Cooper
                                on behalf of Defendant Sidney Keith jcooper@milliganpusateri.com

Jack B. Cooper
                                on behalf of Defendant Kyle Slutz jcooper@milliganpusateri.com

Jack B. Cooper
                                on behalf of Defendant Jessica Gritzan jcooper@milliganpusateri.com

Jack B. Cooper
                                on behalf of Defendant David Stanfill jcooper@milliganpusateri.com

Jack B. Cooper
                                on behalf of Defendant Andrew Gould jcooper@milliganpusateri.com

Jeannie Kim
                                on behalf of Interested Party Instantiation LLC JeKim@sheppardmullin.com dgatmen@sheppardmullin.com

John C. Cannizzaro
                                on behalf of Interested Party Instantiation LLC John.Cannizzaro@icemiller.com Kelli.Bates@icemiller.com

John G. Farnan
                                on behalf of Creditor Cincinnati Insurance Company jfarnan@westonhurd.com

Joshua Ryan Vaughan
                                on behalf of Creditor Ohio Bureau of Workers Compensation jvaughan@amer-collect.com
                                SAllman@AMER-COLLECT.COM;HouliECF@aol.com

Julie K. Zurn
                                on behalf of Plaintiff Squirrels Research Labs LLC jzurn@brouse.com ckeblesh@brouse.com

Julie K. Zurn
                                on behalf of Debtor The Midwest Data Company LLC jzurn@brouse.com ckeblesh@brouse.com




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Date Rcvd: May 23, 2024                                     Form ID: pdf755                                                 Total Noticed: 155
Julie K. Zurn
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TOTAL: 35




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           IT IS ORDERED as set forth below:




           Date: May 23, 2024




                                UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION

  In re:                                                    )         Chapter 11
                                                            )
  Squirrels Research Labs LLC, et al. 1                     )         Case No. 21-61491
                                                            )
            Debtors.                                        )         Judge Tiiara N.A. Patton
                                                            )


           ORDER APPROVING COMPROMISE AND SETTLEMENT BETWEEN THE
                  DEBTORS AND CINCINNATI INSURANCE COMPANY 2

            This is before the Court upon the Debtors’ Motion for Entry of an Order Approving

  Compromise and Settlement with Cincinnati Insurance Company (the “Motion”), the objection to

  the Motion filed by SF Mining Company [Docket #327] (“SF Mining Objection”), and the

  objection to the Motion filed by Paul Billinger [Docket #332] (the “Billinger Objection,” and




  1
    The “Debtors” in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
  number, are: Squirrels Research Labs LLC (9310), case no. 21-61491 and The Midwest Data Company LLC (1213),
  case no. 21-61492.
  2
    All capitalized terms used in this Order and not otherwise defined herein shall have the meanings as set forth in the
  Motion.




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  together with the SF Mining Objection, the “Objections”). The Court held a hearing on May 21,

  2024. Appearing at the hearing were Julie K. Zurn, counsel for Debtors, David Stanfill,

  representative of the Debtors, Fred Schwieg, Subchapter V Trustee, Kate Bradley, trial attorney

  for the U.S. Trustee, and Paul Billinger. The Court having reviewed the Motion, and having heard

  statements at the hearing on May 21, 2024, makes the following findings: the Court has jurisdiction

  over this matter pursuant to 28 U.S.C. §§ 157 and 1334(b); this is a core proceeding pursuant to

  28 U.S.C. § 157(b)(2); venue of this proceeding and the Motion is proper pursuant to 28 U.S.C.

  §§ 1408 and 1409; notice of the Motion was proper and sufficient under the circumstances; and

  upon consideration of the relevant factors to be utilized in determining whether a proposed

  settlement is fair and reasonable – namely, the probability of success; difficulties, if any, in

  collecting any judgment; the complexities involved, including the attendant expense,

  inconvenience, and delay; and the interest of creditors – it appears to the Court that the settlement

  with Cincinnati Insurance Company is fair and equitable, rising above the “lowest point in the

  range of reasonableness”, that the relief sought in the Motion is in the best interest of all parties,

  and that the legal and factual bases set forth in the Motion establish just cause for the approval of

  the settlement with Cincinnati Insurance Company; therefore, it is hereby adjudged, decreed, and

         ORDERED that the Motion is granted with respect to the request for approval of the

  Compromise and Settlement with Cincinnati Insurance Company and the Objections are overruled;

  and it is further ordered as follows:

          The Settlement is approved in its entirety, and Debtors are authorized to perform in

             accordance with the terms thereof, as well as with the terms of this Order;

          7KH0RWLRQLVJUDQWHGDVVHWIRUWKKHUHLQ

          7KH6HWWOHPHQW$JUHHPHQWDWWDFKHGWRWKH0RWLRQDVDQH[KLELWLVDSSURYHG

          The Settlement Payment (as defined in the Settlement Agreement attached to the

             Motion) shall be paid by Cincinnati Insurance Company to Debtor’s counsel’s IOLTA
                                                  2



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           pending further order from the Court as to the allocation of the Settlement Payment

           between Squirrels Research Labs LLC and The Midwest Data Company LLC;

         Debtors shall submit supplemental briefing and support for the proposed allocation of

           the Settlement Payment on or before -XQH7KHVXSSOHPHQWDOEULHILQJPD\

           LQFOXGHEXWLVQRWOLPLWHGWRGHFODUDWLRQVDIILGDYLWVDQGGRFXPHQWDU\HYLGHQFH;

         $Q\UHVSRQVHVWR'HEWRUV VXSSOHPHQWDOEULHILQJPD\EHILOHGRQRUEHIRUH-XQH

           and

         A hearing on the Allocation of the Settlement Payment shall be held on -XO\

           DW DPSUHYDLOLQJ(DVWHUQ7LPH (the “Hearing”), or as soon thereafter as

           thismatter may be heard, before the Honorable Tiiara N.A. Patton. The Hearing

           will beconducted both (i) in person at the Ralph Regula Federal Building and U.S.

           Courthouse,401 McKinley Avenue, SW, Canton, Ohio 44702, and (ii) via the

           Zoom® Video Communications application (“Zoom”). Unless otherwise ordered by

           the Court, anyparty who will not be presenting evidence or argument may request to

           appear virtuallyvia Zoom. Parties must pre-register by emailing Evelyn Ross,

           Judge Patton’s Courtroom Deputy, at PattonZoom_Registration@ohnb.uscourts.gov

           by no later than4:00 p.m. three (3) business days prior to the scheduled

           hearing. The hearing registration email must include the following information:

            D case name and case number; (b) hearing date and time(s); (c) participant’s

           name, address, and telephonenumber; and (d) name of party/parties whom

           participant represents. All participantsappearing by Zoom shall comply with Judge

           Patton’s Procedures for Appearing viaZoom® Video Communications (Effective

           August 21, 2023), which can be found on theCourt’s website. Persons without video

           conferencing capabilities must immediately contact Evelyn Ross, Judge Patton’s

           Courtroom Deputy, at (330) 742-0950 to makealternative arrangements. Absent
                                            3
           emergency circumstances, such arrangements mustbe made no later than three (3)


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           hearing may be continued from time to time until completed without further notice

           except as announced in open court.

        5. The Court shall retain jurisdiction over any and all disputes arising under or otherwise

           relating to the terms of this Order or the Settlement.



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          Robert E. Goff, Jr. on behalf of Creditor Cincinnati Insurance Company at



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                                                              Oss, Noord Brabant 5345 BV
CANADA                         UNDELIVERABLE
                                                              NETHERLANDS




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